Case 5:12-cv-00127-GNS-HBB Document 1212 Filed 12/18/15 Page 1 of 1 PageID #: 6590




                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                     AT PADUCAH
                                 Case No.5:12CV-127-R
                                ELECTRONICALLY FILED

   LWD PRP GROUP                                                                  PLAINTIFF

   VS.

   YENKIN-MAJESTIC PAINT CORP, et al                                          DEFENDANTS

                   NOTICE OF FILING OF INTERROGATORIES AND
              REQUEST FOR PRODUCTION OF DOCUMENTS TO PLAINTIFF

          Notice is given that the defendant, Yenkin – Majestic Paint Corp.,, by and

   through counsel serves its Interrogatories and Requests to Admit to Plaintiff upon all

   counsel in the above-captioned matter.

                                                    Respectfully submitted,

                                                    BOEHL STOPHER & GRAVES, LLP


                                                    /s/ Richard L. Walter_____
                                                    Richard L. Walter
                                                    410 Broadway
                                                    Paducah, KY 42001
                                                    270-442-4369
                                                    270-442-4689 fax
                                                    rwalter@bsgpad.com
                                                    ATTORNEY FOR DEFENDANT
                                                    YENKIN-MAJESTIC PAINT CORP.

                                 CERTIFICATE OF SERVICE

           I hereby certify that on the 18th day of December 2015, I electronically filed with
   the Clerk of Court, on counsel of record by means of the Court’s CM/ECF electronic
   filing system. Notice of this filing will be sent to all parties by operation of the court’s
   electronic filing system.       The parties may access this filing through the Court’s
   Electronic Case Filing System.

                                                    /s/ Richard L. Walter__
                                                    Richard L. Walter
